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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

              - against -
                                                                     ORDER
 ROBERT ADAMS,
                                                                 20 Cr. 494 (PGG)
                            Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               A conference in this matter will take place on December 11, 2020 at 10:00 a.m.

by telephone. The parties are directed to dial 888-363-4749 to participate, and to enter the

access/security code 6212642. The press and public may obtain access to the telephone

conference by dialing the same number and using code. No later than December 7, 2020, the

parties must email Michael_Ruocco@nysd.uscourts.gov and

GardepheNYSDChambers@nysd.uscourts.gov with the phone numbers that the parties will be

using to dial into the conference so that the Court knows which numbers to un-mute. The email

should include the case name and case number in the subject line.

Dated: New York, New York
       October 14, 2020
